   Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 1 of 384




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA           *
                                   *
     v.                            *      CRIMINAL NO. 23-cr-257 (TSC)
                                   *
DONALD J. TRUMP,                   *
                                   *
          Defendant.               *
                                   *


                   GOVERNMENT APPENDIX VOL. IV
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 2 of 384




                             GA 1503
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 3 of 384




                             GA 1504
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 4 of 384




                             GA 1505
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 5 of 384




                             GA 1506
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 6 of 384




                             GA 1507
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 7 of 384




                             GA 1508
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 8 of 384




                             GA 1509
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 9 of 384




                             GA 1510
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 10 of 384




                             GA 1511
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 11 of 384




                             GA 1512
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 12 of 384




                             GA 1513
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 13 of 384




                             GA 1514
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 14 of 384




                             GA 1515
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 15 of 384




                             GA 1516
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 16 of 384




                             GA 1517
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 17 of 384




                             GA 1518
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 18 of 384




                             GA 1519
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 19 of 384




                             GA 1520
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 20 of 384




                             GA 1521
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 21 of 384




                             GA 1522
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 22 of 384




                             GA 1523
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 23 of 384




                             GA 1524
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 24 of 384




                             GA 1525
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 25 of 384




                             GA 1526
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 26 of 384




                             GA 1527
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 27 of 384




                             GA 1528
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 28 of 384




                             GA 1529
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 29 of 384




                             GA 1530
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 30 of 384




                             GA 1531
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 31 of 384




                             GA 1532
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 32 of 384




                             GA 1533
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 33 of 384




                             GA 1534
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 34 of 384




                             GA 1535
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 35 of 384




                             GA 1536
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 36 of 384




                             GA 1537
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 37 of 384




                             GA 1538
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 38 of 384




                             GA 1539
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 39 of 384




                             GA 1540
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 40 of 384




                             GA 1541
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 41 of 384




                             GA 1542
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 42 of 384




                             GA 1543
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 43 of 384




                             GA 1544
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 44 of 384




                             GA 1545
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 45 of 384




                             GA 1546
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 46 of 384




                             GA 1547
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 47 of 384




                             GA 1548
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 48 of 384




                             GA 1549
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 49 of 384




                             GA 1550
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 50 of 384




                             GA 1551
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 51 of 384




                             GA 1552
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 52 of 384




                             GA 1553
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 53 of 384




                             GA 1554
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 54 of 384




                             GA 1555
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 55 of 384




                             GA 1556
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 56 of 384




                             GA 1557
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 57 of 384




                             GA 1558
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 58 of 384




                             GA 1559
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 59 of 384




                             GA 1560
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 60 of 384




                             GA 1561
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 61 of 384




                             GA 1562
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 62 of 384




                             GA 1563
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 63 of 384




                             GA 1564
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 64 of 384




                             GA 1565
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 65 of 384




                             GA 1566
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 66 of 384




                             GA 1567
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 67 of 384




                             GA 1568
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 68 of 384




                             GA 1569
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 69 of 384




                             GA 1570
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 70 of 384




                             GA 1571
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 71 of 384




                             GA 1572
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 72 of 384




                             GA 1573
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 73 of 384




                             GA 1574
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 74 of 384




                             GA 1575
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 75 of 384




                             GA 1576
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 76 of 384




                             GA 1577
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 77 of 384




                             GA 1578
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 78 of 384




                             GA 1579
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 79 of 384




                             GA 1580
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 80 of 384




                             GA 1581
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 81 of 384




                             GA 1582
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 82 of 384




                             GA 1583
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 83 of 384




                             GA 1584
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 84 of 384




                             GA 1585
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 85 of 384




                             GA 1586
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 86 of 384




                             GA 1587
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 87 of 384




                             GA 1588
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 88 of 384




                             GA 1589
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 89 of 384




                             GA 1590
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 90 of 384




                             GA 1591
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 91 of 384




                             GA 1592
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 92 of 384




                             GA 1593
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 93 of 384




                             GA 1594
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 94 of 384




                             GA 1595
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 95 of 384




                             GA 1596
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 96 of 384




                             GA 1597
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 97 of 384




                             GA 1598
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 98 of 384




                             GA 1599
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 99 of 384




                             GA 1600
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 100 of 384




                              GA 1601
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 101 of 384




                              GA 1602
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 102 of 384




                              GA 1603
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 103 of 384




                              GA 1604
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 104 of 384




                              GA 1605
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 105 of 384




                              GA 1606
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 106 of 384




                              GA 1607
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 107 of 384




                              GA 1608
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 108 of 384




                              GA 1609
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 109 of 384




                              GA 1610
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 110 of 384




                              GA 1611
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 111 of 384




                              GA 1612
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 112 of 384




                              GA 1613
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 113 of 384




                              GA 1614
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 114 of 384




                              GA 1615
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 115 of 384




                              GA 1616
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 116 of 384




                              GA 1617
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 117 of 384




                              GA 1618
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 118 of 384




                              GA 1619
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 119 of 384




                              GA 1620
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 120 of 384




                              GA 1621
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 121 of 384




                              GA 1622
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 122 of 384




                              GA 1623
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 123 of 384




                              GA 1624
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 124 of 384




                              GA 1625
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 125 of 384




                              GA 1626
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 126 of 384




                              GA 1627
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 127 of 384




                              GA 1628
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 128 of 384




                              GA 1629
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 129 of 384




                              GA 1630
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 130 of 384




                              GA 1631
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 131 of 384




                              GA 1632
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 132 of 384




                              GA 1633
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 133 of 384




                              GA 1634
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 134 of 384




                              GA 1635
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 135 of 384




                              GA 1636
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 136 of 384




                              GA 1637
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 137 of 384




                              GA 1638
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 138 of 384




                              GA 1639
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 139 of 384




                              GA 1640
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 140 of 384




                              GA 1641
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 141 of 384




                              GA 1642
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 142 of 384




                              GA 1643
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 143 of 384




                              GA 1644
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 144 of 384




                              GA 1645
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 145 of 384




                              GA 1646
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 146 of 384




                              GA 1647
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 147 of 384




                              GA 1648
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 148 of 384




                              GA 1649
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 149 of 384




                              GA 1650
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 150 of 384




                              GA 1651
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 151 of 384




                              GA 1652
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 152 of 384




                              GA 1653
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 153 of 384




                              GA 1654
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 154 of 384




                              GA 1655
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 155 of 384




                              GA 1656
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 156 of 384




                              GA 1657
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 157 of 384




                              GA 1658
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 158 of 384




                              GA 1659
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 159 of 384




                              GA 1660
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 160 of 384




                              GA 1661
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 161 of 384




                              GA 1662
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 162 of 384




                              GA 1663
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 163 of 384




                              GA 1664
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 164 of 384




                              GA 1665
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 165 of 384




                              GA 1666
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 166 of 384




                              GA 1667
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 167 of 384




                              GA 1668
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 168 of 384




                              GA 1669
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 169 of 384




                              GA 1670
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 170 of 384




                              GA 1671
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 171 of 384




                              GA 1672
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 172 of 384




                              GA 1673
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 173 of 384




                              GA 1674
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 174 of 384




                              GA 1675
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 175 of 384




                              GA 1676
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 176 of 384




                              GA 1677
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 177 of 384




                              GA 1678
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 178 of 384




                              GA 1679
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 179 of 384




                              GA 1680
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 180 of 384




                              GA 1681
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 181 of 384




                              GA 1682
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 182 of 384




                              GA 1683
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 183 of 384




                              GA 1684
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 184 of 384




                              GA 1685
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 185 of 384




                              GA 1686
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 186 of 384




                              GA 1687
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 187 of 384




                              GA 1688
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 188 of 384




                              GA 1689
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 189 of 384




                              GA 1690
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 190 of 384




                              GA 1691
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 191 of 384




                              GA 1692
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 192 of 384




                              GA 1693
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 193 of 384




                              GA 1694
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 194 of 384




                              GA 1695
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 195 of 384




                              GA 1696
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 196 of 384




                              GA 1697
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 197 of 384




                              GA 1698
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 198 of 384




                              GA 1699
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 199 of 384




                              GA 1700
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 200 of 384




                              GA 1701
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 201 of 384




                              GA 1702
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 202 of 384




                              GA 1703
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 203 of 384




                              GA 1704
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 204 of 384




                              GA 1705
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 205 of 384




                              GA 1706
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 206 of 384




                              GA 1707
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 207 of 384




                              GA 1708
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 208 of 384




                              GA 1709
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 209 of 384




                              GA 1710
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 210 of 384




                              GA 1711
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 211 of 384




                              GA 1712
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 212 of 384




                              GA 1713
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 213 of 384




                              GA 1714
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 214 of 384




                              GA 1715
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 215 of 384




                              GA 1716
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 216 of 384




                              GA 1717
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 217 of 384




                              GA 1718
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 218 of 384




                              GA 1719
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 219 of 384




                              GA 1720
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 220 of 384




                              GA 1721
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 221 of 384




                              GA 1722
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 222 of 384




                              GA 1723
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 223 of 384




                              GA 1724
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 224 of 384




                              GA 1725
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 225 of 384




                              GA 1726
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 226 of 384




                              GA 1727
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 227 of 384




                              GA 1728
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 228 of 384




                              GA 1729
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 229 of 384




                              GA 1730
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 230 of 384




                              GA 1731
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 231 of 384




                              GA 1732
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 232 of 384




                              GA 1733
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 233 of 384




                              GA 1734
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 234 of 384




                              GA 1735
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 235 of 384




                              GA 1736
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 236 of 384




                              GA 1737
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 237 of 384




                              GA 1738
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 238 of 384




                              GA 1739
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 239 of 384




                              GA 1740
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 240 of 384




                              GA 1741
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 241 of 384




                              GA 1742
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 242 of 384




                              GA 1743
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 243 of 384




                              GA 1744
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 244 of 384




                              GA 1745
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 245 of 384




                              GA 1746
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 246 of 384




                              GA 1747
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 247 of 384




                              GA 1748
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 248 of 384




                              GA 1749
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 249 of 384




                              GA 1750
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 250 of 384




                              GA 1751
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 251 of 384




                              GA 1752
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 252 of 384




                              GA 1753
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 253 of 384




                              GA 1754
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 254 of 384




                              GA 1755
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 255 of 384




                              GA 1756
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 256 of 384




                              GA 1757
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 257 of 384




                              GA 1758
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 258 of 384




                              GA 1759
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 259 of 384




                              GA 1760
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 260 of 384




                              GA 1761
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 261 of 384




                              GA 1762
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 262 of 384




                              GA 1763
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 263 of 384




                              GA 1764
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 264 of 384




                              GA 1765
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 265 of 384


                      SEALED




                              GA 1766
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 266 of 384


                      SEALED




                              GA 1767
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 267 of 384




                              GA 1768
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 268 of 384




                              GA 1769
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 269 of 384




                              GA 1770
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 270 of 384




                              GA 1771
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 271 of 384




                              GA 1772
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 272 of 384




                              GA 1773
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 273 of 384




                              GA 1774
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 274 of 384




                              GA 1775
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 275 of 384




                              GA 1776
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 276 of 384




                              GA 1777
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 277 of 384




                              GA 1778
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 278 of 384


                       SEALED




                              GA 1779
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 279 of 384


                       SEALED




                              GA 1780
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 280 of 384




                              GA 1781
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 281 of 384




                              GA 1782
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 282 of 384




                              GA 1783
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 283 of 384




                              GA 1784
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 284 of 384




                              GA 1785
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 285 of 384




                              GA 1786
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 286 of 384




                              GA 1787
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 287 of 384




                              GA 1788
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 288 of 384




                              GA 1789
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 289 of 384




                              GA 1790
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 290 of 384




                              GA 1791
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 291 of 384


                       SEALED




                              GA 1792
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 292 of 384


                       SEALED




                              GA 1793
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 293 of 384




                              GA 1794
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 294 of 384




                              GA 1795
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 295 of 384




                              GA 1796
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 296 of 384




                              GA 1797
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 297 of 384




                              GA 1798
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 298 of 384




                              GA 1799
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 299 of 384




                              GA 1800
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 300 of 384




                              GA 1801
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 301 of 384




                              GA 1802
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 302 of 384




                              GA 1803
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 303 of 384




                              GA 1804
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 304 of 384




                              GA 1805
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 305 of 384




                              GA 1806
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 306 of 384




                              GA 1807
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 307 of 384




                              GA 1808
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 308 of 384




                              GA 1809
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 309 of 384




                              GA 1810
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 310 of 384




                              GA 1811
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 311 of 384




                              GA 1812
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 312 of 384




                              GA 1813
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 313 of 384




                              GA 1814
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 314 of 384




                              GA 1815
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 315 of 384




                              GA 1816
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 316 of 384




                              GA 1817
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 317 of 384




                              GA 1818
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 318 of 384




                              GA 1819
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 319 of 384




                              GA 1820
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 320 of 384




                              GA 1821
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 321 of 384




                              GA 1822
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 322 of 384




                              GA 1823
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 323 of 384




                              GA 1824
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 324 of 384




                              GA 1825
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 325 of 384




                              GA 1826
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 326 of 384




                              GA 1827
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 327 of 384




                              GA 1828
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 328 of 384




                              GA 1829
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 329 of 384




                              GA 1830
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 330 of 384




                              GA 1831
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 331 of 384




                              GA 1832
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 332 of 384




                              GA 1833
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 333 of 384




                              GA 1834
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 334 of 384




                              GA 1835
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 335 of 384




                              GA 1836
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 336 of 384




                              GA 1837
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 337 of 384




                              GA 1838
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 338 of 384




                              GA 1839
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 339 of 384




                              GA 1840
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 340 of 384




                              GA 1841
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 341 of 384




                              GA 1842
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 342 of 384




                              GA 1843
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 343 of 384




                              GA 1844
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 344 of 384




                              GA 1845
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 345 of 384




                              GA 1846
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 346 of 384




                              GA 1847
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 347 of 384




                              GA 1848
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 348 of 384




                              GA 1849
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 349 of 384




                              GA 1850
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 350 of 384




                              GA 1851
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 351 of 384




                              GA 1852
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 352 of 384




                              GA 1853
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 353 of 384




                              GA 1854
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 354 of 384




                              GA 1855
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 355 of 384
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 356 of 384
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 357 of 384
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 358 of 384




                              GA 1859
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 359 of 384
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 360 of 384




                              GA 1861
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 361 of 384




                              GA 1862
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 362 of 384




                              GA 1863
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 363 of 384




                              GA 1864
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 364 of 384




                              GA 1865
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 365 of 384




                              GA 1866
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 366 of 384




                              GA 1867
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 367 of 384




                              GA 1868
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 368 of 384




                              GA 1869
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 369 of 384




                              GA 1870
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 370 of 384




                              GA 1871
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 371 of 384




                              GA 1872
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 372 of 384




                              GA 1873
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 373 of 384




                              GA 1874
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 374 of 384




                              GA 1875
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 375 of 384




                              GA 1876
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 376 of 384




                              GA 1877
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 377 of 384




                              GA 1878
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 378 of 384




                              GA 1879
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 379 of 384




                              GA 1880
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 380 of 384




                              GA 1881
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 381 of 384




                              GA 1882
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 382 of 384




                              GA 1883
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 383 of 384




                              GA 1884
Case 1:23-cr-00257-TSC Document 266-3 Filed 10/18/24 Page 384 of 384




                              GA 1885
